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                             No. 4:20-cv-03709

  IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                    DISTRICT OF TEXAS
                    HOUSTON DIVISION

STEVEN HOTZE, M.D., WENDELL CHAMPION, HON. STEVE TOTH, AND
                     SHARON HEMPHILL,
                          Plaintiffs

                                      v.

       CHRIS HOLLINS, in his official capacity as Harris County Clerk,
                               Defendant

      BRIEF FOR AMICUS CURIAE ON BEHALF OF THE TEXAS
       COALITION OF BLACK DEMOCRATS IN SUPPORT OF
                        DEFENDANT

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        https://www.texastribune.org/2020/08/20/Texas-election-mail-ballots/                                    (last

        visited Oct. 8, 2020).........................................................................................9

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        https://www.washingtonpost.com/politics/black-voters-2020-

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        (last visited Oct. 26, 2020).............................................................................11

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        Warns 46 States Their Voters Could be Disenfranchised by Delayed Mail-in

        Ballots,           https://www.washingtonpost.com/local/md-politics/usps-states-

        delayed-mail-in-ballots/2020/08/14/64bf3c3c-dcc7-11ea-8051d5f887d73381

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        Eligible To Vote In 2020 Election Live In Just Five States,

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        immigrants-eligible-to-vote-in-2020-election-live-in-just-five-states/                                         (last

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              STATEMENT OF THE ISSUE PRESENTED

WHETHER ENDING DRIVE THRU VOTING AND REFUSING TO COUNT
THE THOUSANDS OF HARRIS COUNTY VOTES CAST AT DRIVE THRU
POLLING SITES NEGATIVELY AFFECTS BLACK VOTERS.




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                       INTEREST OF AMICUS CURIAE

      The Texas Coalition of Black Democrats submits this brief on behalf of Black

voters. As an organization the Texas Coalition of Black Democrats is a political

organization that seeks to end poverty, hunger, homelessness, race-based health

disparities, the racial wealth-income-and education gap. The Coalition uses politics

to address these issues by increasing voter engagement and holding candidates

accountable for protecting and enhancing voting rights. The Coalition’s mission is

to protect and empower Black Democratic voters and the officials we elect as well

as advancing an agenda focused on justice, opportunity, equity and economic

prosperity. Therefore, the Texas Coalition of Black Democrats writes to inform the

Court of the effect of disregarding the hundreds of thousands of votes cast via drive

thru voting in Harris County.




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                       SUMMARY OF THE ARGUMENT

      Like any other election, the November 2020 election ought to be guided by

hearing the voices of the American people. The election will not reflect America’s

voice if certain voters are pushed out due to a lack of access to the polls. The push

to continue to change voting procedures and decrease access to absentee voting

uniquely harms Black voters. Non-white voters are more likely than other voters to

request absentee ballots. Additionally, Black voters are much more likely to be

infected and suffer the most serious effects of COVID-19. Reducing access to

absentee voting forces Black voters to decide between exposing themselves to a life-

threatening disease or lose their chance to vote.




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                                   ARGUMENT

   I.      THIS ELECTION CYCLE HAS PRESENTED INCREASED CONFUSION AND
           UNIQUE ACCESS ISSUES FOR VOTERS TO GET TO THE POLLS, UNFAIRLY
           BURDENING BLACK VOTERS.

        In the midst of a contentious election it is vitally important that every

American who seeks to vote has the ability to access that right. Access to this right

is already significantly limited because of the COVID-19 pandemic. People fear

going into public spaces due to the risk that it imposes on their health. Because of

this, more voters than ever before have requested absentee ballots. In the midst of so

many absentee ballot requests there are rising concerns about the ability of the

United States Postal Service (“USPS”) to deliver the votes on time. Governor Abbott

has passed two proclamations regarding voting. First, his July proclamation

expanded early voting to mitigate public health concerns about crowded polling

locations; however, his second proclamation in October limited absentee ballot drop

off locations forcing absentee voters in large counties to face significant commutes

to drop off their ballot or the uneasiness of submitting a ballot by mail. In light of

these changes, Harris county attempted to mitigate these concerns by offering drive

thru voting. Drive thru voting allows voters to drive to a polling location and vote

from their car.

        In light of COVID-19, there is a heightened need for alternative options for

Black voters to cast their ballot without having to wait in crowded lines and

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physically enter polling locations. Black voters are much more likely than white

voters to be infected with COVID-19 and face its more serious effects. In a general

election, non-white voters are more likely to request absentee ballots; and with

COVID-19 added to the equation it is essential that black voters have safe access to

the polls. Due to increasing social unrest it is increasingly important for Black voters

to feel that they have adequate access to the polls to voice their concerns about the

leadership of this country.

      II.      AMERICA HAS A PERVASIVE HISTORY OF SUPPRESSING BLACK VOTERS.

            America has a long history of politically disenfranchising Black voters. Even

after Black Americans were granted the right to vote, they were denied access to the

polls through policies such as poll taxes and literacy tests. In the late nineteenth and

early twentieth century, Black Americans “were denied the right to vote through poll

taxes, literacy tests, grand-father clauses, and felon disenfranchisement laws.”1

These insidious techniques of pushing Black voters out of the polling booth are

continued today. The plaintiffs are attacking drive thru voting in hopes of narrowing

the margins for Harris county races. They seek to throw out over one hundred

thousand votes from “democrat areas” which are more likely to be frequented by

Black voters.




1
    Michelle Alexander, The New Jim Crow 192 (2012).
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   III.   THE EVENTS LEADING UP TO THE 2020 ELECTION HAVE CREATED THE
          PERFECT STORM OF SOCIAL UNREST AND VOTER CONFUSION.

      A. Fear of voter intimidation

      It is important to acknowledge that this election cycle has been cloaked in

social unrest and racial divisiveness, in part due to the murders of Ahmaud Arbery,

George Floyd, and Breonna Taylor, who were unarmed Black Americans killed by

police. Their tragic murders along with the president’s refusal to disavow white

supremacists and hate groups make many Black Americans feel unsafe and

unprotected by their government. Consequently, Black Americans are voting in

record numbers because they believe that their lives and the lives of future

generations depend on the outcome of this election, yet sadly, many Black voters

feel uncomfortable voting in person given the impact of COVID-19 in communities

of color. Reducing access to absentee voting mechanisms forces Black voters to

make the impossible choice between protecting themselves from exposure to

COVID-19 or waiting in crowded lines to cast their ballot in person.

      B. Voter Confusion

      This election has been rife with voter confusion. There has already been

significant confusion on ways in which individuals seeking to avoid crowds could

vote this election. The Governor issued two proclamations changing voting


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requirements in October and July. There have been changes to rules on wearing

masks at polling locations.2 There was confusion as to whether fear of COVID-19

was a qualification for getting an absentee ballot. There have been over two hundred

lawsuits nationally3 and approximately thirty lawsuits in Texas.4 This is the third

lawsuit on this issue alone. Notably, The Supreme Court of Texas denied the

realtors’ emergency motion for temporary relief on the issue of drive thru voting on

October 22, 2020.5 Subsequently, on November 1, 2020, The Supreme Court of

Texas denied a Petition for Writ of Mandamus which was filed on the issue of drive

thru voting.6 Thus, The Supreme Court of Texas has declined two opportunities to

invalidate drive thru voting.

        Voters cannot keep up with the ever-changing voting requirements, and at this

point in the election, it is simply too late in the game to change course now. Qualified

voters have the right to vote and the right to have that vote counted. Reynolds v.

Sims, 377 U.S. 533, 554 (1964). Furthermore, Harris County voters were previously



2
  Jolie McCollough, Texas voters won't be required to wear masks while voting after appeals court temporarily lets
Abbott order stand, https://www.texastribune.org/2020/10/28/texas-voting-mask-abbott/ (last visited Oct. 30 2020).
3
  Eric Tucker, Voting Lawsuits Pile Up Across US as Election Approaches, https://apnews.com/article/election-2020-
virus-outbreak-donald-trump-voting-lawsuits-124eca1b346c2fa64f6add1710031ec4 (last visited Oct. 30 2020).
4
   Guy-Uriel E. Charles, Texas legal battles highlight how the 2020 election is being fought in the courts,
https://www.nbcnews.com/think/opinion/texas-legal-battles-highlight-how-2020-election-being-fought-courts-
ncna1244306 (last visited Oct. 30, 2020).
5
  Order, The Supreme Court of Texas, October 22, 2020, https://www.txcourts.gov/media/1449951/supreme-court-
of-texas-orders-10-22-2020.pdf (last visited Nov. 2, 2020).
6
  Order, The Supreme Court of Texas, November 1, 2020, https://www.txcourts.gov/media/1449985/supreme-court-
of-texas-orders-11-01-2020.pdf (last visited Nov. 1, 2020).
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allowed to utilize drive thru voting during the July 2020 primary run-off election.

Regardless of the legality of drive thru voting, Harris county voters have been

instructed that it is a legitimate voting method. Relying on these instructions many

Harris county voters have cast their ballots at drive thru polling locations and they

have a right for those ballots to be counted.

         IV.     DRIVE THRU VOTING IS ESSENTIAL FOR BLACK VOTERS.

         A. Non-white voters rely on absentee voting.

         There are over 16 million registered voters in Texas.7 Non-white residents

make up a large portion of the state. The United States Census Bureau notes that

there are over 6 million non-white-only residents, out of almost 29 million total

residents, in the state of Texas. The state also has approximately 1.8 million

immigrant eligible voters.8 A recent survey of non-white voters shows that nearly

half of the individuals in their nationwide poll expected to vote by mail.9 The

majority of Texas’s non-white residents live in its largest counties. For example,

Harris County is home to over 4.5 million residents, which over 40% of which




7
     Turn     Out     and     Voter     Registration      Numbers,        Texas     Secretary of State’s Office,
https://www.sos.state.tx.us/elections/historical/70-92.shtml (last visited Oct. 8, 2020).
8
  Luis Noe-bustamante and Abby Budiman, Most Of The 23 Million Immigrants Eligible To Vote In 2020 Election
Live In Just Five States, https://www.pewresearch.org/fact-tank/2020/03/03/most-of-the-23-million-immigrants-
eligible-to-vote-in-2020-election-live-in-just-five-states/ (last visited Oct. 8, 2020).
9
  Human Rights Campaign Foundation & Highly Insightful Targeting Strategies, Vote by Mail Among Non-White
Voters National Non-White Voters Survey (2020), https://hitstrat.com/wp-content/uploads/2020/08/HRC-Updated-
Slides-PUBLIC-FINAL-2.pdf (last visited Oct. 8, 2020).
                                                       8
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identify as Latino and around 20% identify as Black. These voters face the brunt of

limited access to voting due to decreased absentee mechanisms.



        B. The USPS has experienced significant strain this year and the final date
           for sending in a mail in ballot has now passed.

        The United States Postal Service (“USPS”) has nationally expressed their

concerns about delays that could lead to an increased amount of rejected ballots this

year.10 As a result, Harris County anticipated an exponential increase in the number

of residents who will hand deliver their mail ballots to ensure they are received

timely. Governor Abbott’s October 1 Proclamation11 limited absentee ballot drop off

locations, disproportionately impacting large counties in Texas such as Harris

county. This change happened after drop-off locations had already been set up in

Harris county. Voters who many have originally planned to submit their absentee

ballot by mail may have already made arrangements to drop off their ballot in person

at a location near their home. When these drop off locations were closed, these voters

likely turned to drive thru voting as a way to ensure that their ballot was counted

without having to brave crowded polling lines.



10
   Erin Cox, Elise Viebeck, Jacob Bogage and Christopher Ingraham, Postal Service Warns 46 States Their Voters
Could be Disenfranchised by Delayed Mail-in Ballots, https://www.washingtonpost.com/local/md-politics/usps-
states-delayed-mail-in-ballots/2020/08/14/64bf3c3c-dcc7-11ea-8051-d5f887d73381_story.html?tid=ss_tw      (last
visited Oct. 8, 2020).
11
   The Governor of the State of Texas, Proclamation No. 41-___, Tex. Reg. __, ___ (2020)
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             It is likely too late for voters to mail in ballots in order for them to be counted

in the election. According to the Texas Tribune, the number one reason mail-in

ballots are not counted is not because of fraud, but because they are late.12 In the July

primary run off, there were 199,218 ballots cast from nine (9) major Texas counties:

Harris, Travis, Tarrant, Bexar, Collin, Denton, El Paso, Fort Bend, and Hidalgo.13

Of these ballots, 3,010 were not counted.14 The majority of the rejected ballots,

2,482, were rejected because they were late.15 Of the ballots rejected due to

timeliness, 2,034 were from Harris County alone.16 This problem will only be

worsened with reliance on the United States Postal Service (“USPS”) due to the

Governor’s proclamation issued on October 1, 2020.

             The USPS has expressed nationally their concerns about delays that could lead

to an increased amount of rejected ballots this year.17 A series of letters were

delivered to the states expressing the agency’s concerns about its ability to guarantee

timely delivery of absentee ballots.18 In Houston, specifically, sorting capacity has


12
   Alexa Ura, In Texas, USPS Woes and State Deadlines Could Leave Voters Without Enough Time to Return Mail-
in Ballots (2020), https://www.texastribune.org/2020/08/20/Texas-election-mail-ballots/ (last visited Oct. 8, 2020).
13
   Id.
14
     Id.
15
     Id.
16
     Id.
17
   Erin Cox, Elise Viebeck, Jacob Bogage and Christopher Ingraham, Postal Service Warns 46 States Their Voters
Could be Disenfranchised by Delayed Mail-in Ballots, https://www.washingtonpost.com/local/md-politics/usps-
states-delayed-mail-in-ballots/2020/08/14/64bf3c3c-dcc7-11ea-8051-d5f887d73381_story.html?tid=ss_tw      (last
visited Oct. 8, 2020).
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   Id.
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dropped by 470 thousand pieces of mail per hour, due to sweeping organizational

and policy overhaul including the federal cost-cutting policies over the past few

months.19 In 2018, the cumulative of Texas’s by-mail voters was 369,598.20 The

Harris County Clerk reports that 2020’s election could see mail voters increase by

seven to eight times that number.

             Fearing even more that the USPS would not be able to get their ballot(s)

delivered on time, thousands of absentee voters made plans to utilize drive thru

polling locations to drop off their ballot. Governor Abbott’s October 1 Proclamation

burdened those voters even more to drop off their absentee ballot at a drive thru

location rather than rely on the USPS. Accordingly, rescinding these votes at such

a late date, as requested by the Plaintiffs, will create an enormous burden for

absentee voters who have already cast their ballot at a drive thru polling location. If

these voters find out, the day before election day, that their vote may not count, they

will now face significant lines and exposure to vote in person throughout Harris

county on election day. Having thousands of potential voters attempt to recast their

ballot on election day puts an enormous strain on voters who trusted government




19
     Id.
20
   Texas Secretary of State’s Office, https://www.sos.texas.gov/elections/earlyvoting/2016/nov4.shtml (last visited
Oct. 8, 2020).
                                                       11
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officials to provide them information on their voting options, effectively

disenfranchising them.

         C. COVID health concerns

         Black communities have been disproportionately impacted by COVID-19.

Research shows that “Black Americans are more than twice as likely as Whites to

become infected with the novel coronavirus, nearly five times as likely to be

hospitalized and twice as likely to die.”21 And if Black absentee voters who have

historically voted democrat (whether in-person or via absentee ballot) are unable to

cast their votes, they are in essence, disenfranchised. Limiting access to absentee

voting uniquely harms Black voters because of their traditional reliance on absentee

voting and their increased risk of infection if exposed to COVID-19.

                                              IV.      CONCLUSION

         The combination of a substantial increase in requests for absentee ballots,

unprecedented strain on the USPS, and limited access to in person drop off of

absentee ballots makes the risk of rejected ballots higher than the risk of voter fraud.

Refusing to count the votes already cast by Harris county voters is a bigger harm to

society than the much more limited risk of some kind of voter fraud. Ending drive

thru voting and refusing to count the votes already cast thus impedes the Texas


21
   Amy Gardner, ‘My people fought for the right to vote’: With a surge of emotion, Black Americans rush to the polls,
https://www.washingtonpost.com/politics/black-voters-2020-election/2020/10/18/bdc06ad0-0f3b-11eb-8074-
0e943a91bf08_story.html (last visited Oct. 26, 2020).
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Coalition of Black Democrats “[t]o protect and empower Black Democratic voters

and the officials we elect as well as advancing an agenda focused on justice,

opportunity, equity and economic prosperity.”22 Amicus Curiae respectfully submits

that this Court uphold drive thru voting in Texas.

                   Dated this 1st day of November, 2020.



                                                      Respectfully submitted,

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     https://www.texasblackdemocrats.com/about (last visited Oct. 26, 2020)
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                          CERTIFICATE OF SERVICE

      I hereby certify that I have served a true and correct copy of the foregoing via
e-service on November 2, 2020 in accordance with the Federal Rules of Civil
Procedure.

                                              /s/ Carvana Cloud




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief is within compliance with Federal Rule of
Procedure 32(g)(1). This brief contains 2,453 words.


                                           /s/ Carvana Cloud




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